Case 1:18-cv-05622-PKC . Document 37 Filed 10/11/18 Page 1of2

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October 9, 2018

Hon. P. Kevin Castel

United States Courthouse

500 Pearl Street, Courtroom 11D
New York, NY 10007

Re: « Huimane Consumer LLC v. COB Ecommerce
Empire LLC, et. al. U.S. District Court,
Southern District of New York

Docket No. (1:18-cv-05622 (PKC)

Dear Judge Castel:

I represent the plaintitt Humane Consumer LLC.

Issuance of summonses against two. defendants, Michael O’Brien and Crawford
and O’Brien, was effected on July 5, 2018 and service had:to be made within 90: days
pursuant to FRCP 4(m). At the time, our best information and belief was that the .
proper addresses for service were as follows: |

|
Michael O’Brien
1150 N. 87th Place
Scottsdale, Aaa 85257
Crawford and O’Brien
1303 W 10th Street
Tempe, AZ 85261

Service of the summons and complaint was not made at these addresses within
the time limit imposed. I mistakenly believed that Clark Hill, attorneys for Cobb
‘Ecommerce Empire LLC and Charles Crawford, would also be appearing for. these
defendants because of the Crawford and O”’ Brien partnership. However, they did not.
Case 1:18-cv-05622-PKC Document 37° Filed 10/11/18 Page2of2

Mr. Siegert to Judge Castel.
Letter of October 9, 2018 |
Humane Consumer | LLC v. COB Ecommerce Empire LLC, et. al.

Page 2.

I have recently learned that Michael O’Brien has relocated to 1838 Pacific Avenue, San
Francisco, CA 94109-2340. Service | on both of these defendants can be made upon
him. | . .

_ Based upon the foregoing, it is asked that the time for service upon these two
defendants be extended to October 31, 2018. -

No previous application has been made,

Consent of the attorneys who have appeared for other defendants is amnecessary.
Thank you. for your kind attention.
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PWS/sp
cc: Clark Hill (SRichman@ClarkHill.com)

